                                   IN THE UNITED
                      Case 2:13-cr-00224-KJM     STATES 87
                                              Document  DISTRICT  COURT Page 1 of 2
                                                           Filed 09/24/14
                                              EASTERN DISTRICT OF CALIFORNIA
UNITED STATES OF AMERICA,

                                 Plaintiff,

                         v.                                2:13-CR-00224-KJM

SEVERO JIMENEZ,
  aka Julio Novela Angulo
                                Defendant.


                                APPLICATION FOR WRIT OF HABEAS CORPUS
             The undersigned attorney hereby applies to the Court for the issuance of a writ of habeas corpus
                        ☒ Ad Prosequendum                                   ☐ Ad Testificandum
Name of Detainee:       Julio Novela Angulo
Detained at             Sonoma County Main Adult Detention Facility
Detainee is:            a.)     ☒ charged in this district by: ☒ Indictment ☐ Information ☐ Complaint
                                  charging detainee with: 21 USC 846, 841(a)(1) and 21 USC 843(b)
                 or     b.)     ☐ a witness not otherwise available by ordinary process of the Court

Detainee will:          a.)      ☐ return to the custody of detaining facility upon termination of proceedings
                 or     b.)      ☒ be retained in federal custody until final disposition of federal charges, as a sentence
                                  is currently being served at the detaining facility

                        Appearance is necessary FORTHWITH in the Eastern District of California.

                        Signature:                               /s/ Paul A. Hemesath
                        Printed Name & Phone No:                 PAUL A. HEMESATH (916) 554-2700
                        Attorney of Record for:                  United States of America

                                              WRIT OF HABEAS CORPUS
                              ☒ Ad Prosequendum                   ☐ Ad Testificandum

         The above application is granted and the above-named custodian, as well as the United States Marshal's Service
for this district, is hereby ORDERED to produce the named detainee, Severo Jimenez, aka Julio Novela Angulo, and
any further proceedings to be had in this cause, and at the conclusion of said proceedings to return said detainee to the
above-named custodian.

        DATED: September 23, 2014




Please provide the following, if known:
AKA(s) (if               Julio Novela Angulo                                                ☒Male      ☐Female
Booking or CDC #:        10097797                                                           DOB:
Facility Address:        2777 Ventura Avenue, Santa Rosa, CA                                Race:
Facility Phone:                                                                             FBI#:
Currently
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                    RETURN OF SERVICE
